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    LEON J. SOKOL
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                                                          March 9, 2023


    Honorable Renée Marie Bumb, U.S.D.J.
    United States District Court for the District of New Jersey
    Mitchell H. Cohen Building and U.S. Courthouse
    4th & Cooper Street
    Camden, New Jersey 08105

           Re:     Siegel v. Platkin, 22-cv-7463
                   Koons v. Platkin, 22-cv-7464

    Dear Chief Judge Bumb:

            My firm represents the Presiding Officer Intervenors, Senate President
    Nicholas P. Scutari and General Assembly Speaker Craig C. Coughlin in the
    aforementioned matter and I serve as lead counsel for the firm. Pursuant to your Text
    Order of March 7, 2023 establishing a date for oral argument on March 17, 2023, I
    respectfully request your consent to participate in oral argument remotely as I will be
    in Florida on that date and unable to appear in person.

           Thank you for your consideration.

                                                   Respectfully submitted,



                                                   Leon J. Sokol

    LJS:kw
    Cc:   Angela Cai, Deputy Solicitor General
          Daniel L. Schmutter, Esq.
          David Jensen, Esq.
          Edward Kologi, Esq.



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